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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

THOMAS J. BECKER, JR,                          )
                                               )
                       Plaintiff,              )
                                               )         4:15-cv-00392-JM
       v.                                      )
                                               )         Judge Moody
COMMERCE RECOVERY AND                          )         Magistrate Deere
CAPITAL MANAGEMENT, LLC.,                      )
and PAYMENT MANAGEMENT                         )
SERVICES USA, LLC.,                            )
                                               )
                       Defendants.             )

   STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO SETTLEMENT

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

                hereby stipulate and agree that the above-captioned action should be dismissed.

       2.       The parties, by agreement, respectfully request that this case be dismissed with

                prejudice and without costs to any party, all costs having been paid and all matters in

                controversy for which this action was brought having been fully settled,

                compromised and adjourned.

Date: January 28, 2016
For Plaintiff                                          For Defendants
  /s David M. Marco                                      /s with consent Brendan H. Little
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